                                   Case 1-20-40402-las                                                       Doc 57                     Filed 09/22/20   Entered 09/22/20 18:52:43




                                              UNITED STATES BANKRUPTCY COURT
                                           _____________ DISTRICT OF ______________


In re Prieto, Jorge M.                                                                Case No. 20-40402
      Debtor                                                                 Reporting Period:      Jun-20

                                                                               Social Security #                2735
                                                                                    (last 4 digits only)


                                                       MONTHLY OPERATING REPORT
                                                       (INDIVIDUAL WAGE EARNERS)

     File with the Court and submit a copy to the United States Trustee within 20 days after the end of the                                                                    Prieto, Jorge M.
     month and submit a copy of the report to any official committee appointed in the case.
     (Reports for Rochester and Buffalo Divisions of Western District of New York are due 15 days after the
     end of the month as are the reports for Southern District of New York.)


     REQUIRED DOCUMENTS                                                      Form No.                      Document     Explanation
                                                                                                           Attached      Attached
     Schedule of Cash Receipts and Disbursements                             MOR-1 (INDV)
        Bank Reconciliation (or copies of debtor's bank                      MOR-1 (CONT)
     reconciliations)
        Copies of bank statements
     Disbursement Journal                                                    MOR-2 (INDV)
     Balance Sheet                                                           MOR-3 (INDV)
        Copies of tax returns filed during reporting period
     Summary of Unpaid Post-petition Debts                                   MOR-4 (INDV)
     Status of Secured Notes, Leases, Installment Payments                   MOR-5 (INDV)
     Debtor Questionnaire                                                    MOR-6 (INDV)


     I declare under penalty of perjury ( 28 U.S.C. Section 1746) that the documents attached to this report are true and
     correct to the best of my knowledge and belief.


     Signature of Debtor /s/ Jorge Miguel Prieto                                                                Date        9/21/2020

     Signature of Joint Debtor                                                                                  Date




                                                                                                                                                                                           FORM MOR (INDV)
                                                                                                                                                                                                    2/2008
                                                                                                                                                                                              PAGE 1 OF 10
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
Case 1-20-40402-las   Doc 57   Filed 09/22/20   Entered 09/22/20 18:52:43
